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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS


SARAH WILSON, Individually,                         :
                                                    :
               Plaintiff,                           :
                                                    :
v.                                                  :   Case No. 6:18-cv-1247
                                                    :
MONG LAN NGUYEN, Individually                       :
                                                    :
and                                                 :
                                                    :
SUPER LAUNDRY LLC                                   :
A Limited Liability Company
           Defendant.
_____________________________________

                                STIPULATION OF DISMISSAL


       Plaintiff Sarah Wilson and Defendant Super Laundry LLC. and Defendant Mong Lan Nguyen,

submit this joint stipulation of dismissal pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure. This matter has been settled and therefore all claims pending or threatened in this matter

are hereby dismissed WITH PREJUDICE.

       Respectfully submitted this 7th day of December 2018.

/s/ Pete M. Monismith                          /s/ Shannon L. Bell

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